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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

EMS TECHNOLOGIES, LLC.

  PLAINTIFF,                                           Civil Action No. 2:10-cv-32

                 V.                                    JURY TRIAL DEMANDED

GENERAL ELECTRIC COMPANY, et al

   DEFENDANTS.


                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims and counterclaims asserted between plaintiff, EMS Technologies, LLC,

and defendant, General Electric Company, in this case, and the Court being of the opinion that

said motion should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in

the suit between plaintiff, EMS Technologies, LLC, and defendant, General Electric Company,

are hereby dismissed with prejudice, subject to the terms of that certain agreement entitled
.
“Settlement and License Agreement” and dated December 13, 2011.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.


        SIGNED this 21st day of December, 2011.




                                                    ____________________________________
                                                    DAVID FOLSOM
                                                    UNITED STATES DISTRICT JUDGE


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